       Case: 23-60069   Document: 132    Page: 1    Date Filed: 03/29/2023




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             March 29, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-60069      State of Texas v. EPA
                        Agency No. 88 Fed. Reg. 9336-9384

The court has granted Texas Petitioners’ unopposed joint motion
for an extension of time to and including April 10, 2023, to file
their reply to the response to the motions to stay in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Majella A. Sutton, Deputy Clerk
                                  504-310-7680
Mr.   Michael Abrams
Mr.   William Francis Cole
Mr.   Bill L. Davis
Mr.   Merrick Garland, U.S. Attorney General
Mr.   Philip Stephen Gidiere III
Ms.   Machelle Rae Lee Hall
Mr.   Todd Sunhwae Kim
Mr.   Matthew Lynn Kuryla
Ms.   Jin Hyung Lee
Mr.   Justin Lee Matheny
Mr.   Joseph N. Mazzara
Mr.   Shae Gary McPhee Jr.
Mr.   Carl Grady Moore III
Ms.   Elizabeth Baker Murrill
Mr.   Jeffrey Prieto
Mr.   Joshua Smith
Mr.   Joseph Scott St. John
Mr.   Aaron Michael Streett
